Case 2:17-cv-02205-PKH Document 3 Filed 11/02/17 Page 1 of 24 Page|D #: 45
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DOUGLAS A. COLEMAN, JR.,

in his capacity as Special Administrator

of the Estat`e of C'asey L. Anstine, Deceased

and in his capacity as next friend '

of Moson Anstine a minor, and

Brittany McConnell, a minor PLA[NTIFF

` v. - CiSEN@. mci-111- 152.

THE PRUDENT[AL INSURANCE COMPANY
'OF AMERICA; and PRUDENT!AL INSURANCE
AGENCY, LLC DEFENDANTS

QM

coMEs Now the Piaimiff, Douglas A. coleman Jr., in his capacity as ma special
Administrator of the Estate of Casey L. Anstine, and in his capacity as next friend of Mason
Anstine, a minor, and Brittany McConnell, a minor, icy and through his undersigned counsei, and
for his Complaint, states'as follows:

P;M

1. The Plaintiff is .the duly appointed Special Adrninistrator of the Estate of Casey L.
Anstine. A copy of the Order Appointing Special Administrator and I.l.etters of Adrn'mistration are
attaclied hereto as Exhibit “A” and “Exhibit B," respectivelyl

2. ne Plaimin‘ is me next friend of M`ason Ansune and Brimmy Mr.com¢u, the

minor children of Casey L. Anstinc, deceased l

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3'. - On information and belief the Separate Defendant, The Prudential Inslurance
Company ofAmerica, is a foreign insurance company registered to do business in Arkansas, with -
its principal place of business located in Newark, New Iersey. _

4. On information and belief, the Separate Defendant, Prudential insurance Agency,
LLC, is a foreign limited liability company registered to do business in Arlcansas. The registered
agent for service of process is The Corporation Company, 124 West Capitol Avenue, Suite 1900,
little Roclg AR 72201.

Jl_ri_s_d_i¢imdwe

5. The Plaintiif resides in Crawford 'County along,with the minor children of Case`y
L. Anstine, deceased

6. On information and belief, the Defendant’s principal place of business in the State
of 'A.rlcansas is Little Rock, Arkansas.

7. This matter involves the interpretation of a policy of insurance, the contract for
which was entered into at the deceased’s residence, located in Sprin‘gdale, Washington Cotmty,
Arkansas. t

8. Jurisdiction and venue are proper hercin. _

Factg-al Allggtions

9. Before her death, Casey L. Anstine submitted an application for a life insurance
_ policy with the Defendants. On information and belief, this application is in the sole custody and
control of the Defendants, and good cause exists to excuse its attachment hereto pursuant to Rule
lO(d) of the Arkansas Rules of Civil Procedure.

10. The Defendants issued a policy of life insurance for Casey L. Anstine. On

information and belief, the policy is in the sole custody and control of the Defendants, and good

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` cause exists to excuse its attachment hereto pursuant to Rule lO(d) of the Arkansas Rules of Civil

Procedln‘e.

]I. All requisite premiums were paid timely and Ms. Anstine met all obligations of
the Policy. n

12. The Policy listed Ms. Anstine as insured and named her husband, Brenton Wayne
Linn, as the benel~'lciary.

l3. On or about June 4, 2l)06, Ms. Anstine was killed in a one-vehicle motor vehicle
crash caused by Mr. Linn’s drunken driving. Mr. Linn was given a breathalyzer on the date of the
collision, which indicated that he had been drinking prior to tire crash. Local law enforcement
commenced a criminal investigation into the death. The Defendants knew or should have known
that the circumstances surrounding Ms. Anstine’s death were suspicious and possibly criminal in
nauue. A true and ooareot oopy of Ms. Aa`aatine's Death certificate is attuolted hereto and
incorporated herein as Exhlbit "C." l

14. ou or about July 5, aoo'v, Mr. Linn was found guilty ofNegligeut Homieide - class
C Felony in Washington County, Arkansas. A true and correct copy of the Judgrnent in the
criminal matter is attached hereto and incorporated herein as Fixhibit "D.” _

ls. lo 2009, nouglaa A. colemao, the half-brother or caaey L. aaaine, deeeaao_d, and
the duly appointed Special Administrator of the Estate of Casey L. Anstine, brought a civil action
against Mr`. Linn for the wrongful death of Ms. Anstine. That case style and number'_is Douglas
Allen Colernan, Individually and as Specr'al Ad)ninisn‘atar for the Es!ate of Casey L. Anstine,
deceased v. Brenton Wayne Linn, Washington County Circuit Court Case No. CV-2009-l'775-S.

16. oa or about Aprll 7, 2011, a beach mar was held and Mr. Linn stipulated to

negligently causing the death of Casey L. Anstine The Circuit Court speciEcally found “that the

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Defendant wrongfully, willfully, unlawfully, and feloniously caused the death of Casey L. Anstine
while Defendant was driving intoxicated, and therefore punitive damages are proper,” The Court
awarded the Estate of Casey L.-Arrstine $2,000,000.00 in damages and apportioned those damages

among the Estate, the deceased’s two surviving daughters, her siblings of whole and half-relation
' and her step-father standing in loco l parentis. The Court also awarded the Estate and its
beneficiaries $250,000.00 in punitive damages. The Court also ordered that post-judgment interest
should accrue at the rate of 1_0% per annurn. A true and correct copy of.t.he Judgment, entered
April 7, 261 1, and filed for record October 24, 2011, is attached hereto and incorporated herein as
Exhibit “E..”

17. At some point in 2006, despite the pending criminal investigation and proceedings
against Mr. Linn, the Defendants paid the Policy coverage amount of 3407,000.00 to Mr. Linn, in
violation of the terms of the policy and state law, specifically Ark. Code Ann. § 18-4-205.

18. On or a_bout Jarruary 4, 2013, counsel for the Plaintiff notified VA Prudential
insurance that the Policy funds were wrongfully distributed to. the “slayer” of the married lnsured,
in violation of state law. A true and correct copy of this notification and demand for payment is
attached hereto and incorporated herein as Exhibit “F.”

l9. Despite the clear mistake of the Dei`endants, the Defendants refuse to reimburse them
Estate the Policy funds as required by the contract of insurance and state law.

I. ' DECLARATOR¥ JUDGMENT

20. Plaintiif restates all allegations contained in Paragraphs 1-19 by this reference

21. ln Arkansas, a “slayer" is deiinedin two ways relevant to this proceeding:

(l) ...an individual who is: convicted by a court of competent jurisdiction of or pleads .

guilty or nolo contendere to the unlawer killing of the decedent; and

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(2)` ...an individual who'is: found by a preponderance of the evidence in a civil action
to have unlawfully killed the decedent...

22. Arkansas law is clear that “insmance and annuity proceeds payable to a slayer as
the beneficiary or assignee of a policy or certin`cate of insurance...sha]l be paid to the decedent’s
enter Ane code Ann. § 18-4-205@).

23. 'I`hc Judgments attached as Exhibits “D” and “E” conclusively establish that Mr.
Linn is the “slayer" of Casey L. Anstine, deceased.

24. The facts and circumstances surrounding th_e death of Ms. Anstine on lune 4, 2006,
were enough to put the Defendants on notice that the death may have been caused by a “slayer" as
defined by A.rlcansas law. l

25. The Plaintiff respectfully requests that the Court exercises its powers under the
declaratory judgment statute and finds and declares that Mr. Linn was, in fact, the legal “slayer"
ost. Anstine, and that all insurance proceeds should have been paid to her Estate, and not to her
slayer.

II. _SPEClFIC PERFORMANCE

26. The Plainciff meter the allegations seminal in Paragmphs 1 through 25 by this
reference ' ° `

27. The Plaintiff respectfully requests that the Court orders specific performance of the
Policy terms, in light of the relevant slayer statute, and directs the Defendants.to pay immediately

to the Bstate of Casey L. Anstine the Policy proceeds of $407,000.00;

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IIL BREACI-I OF CONTRACT

28. The Pl_aintiff restates the allegations contained in_Paragraphs l through 27 _by_ this
reference

29. Casey L. Anstine, deceased, and the Defendants entered into a contract for a life
insurance policy. l

30. The Policy required the Defendants to perform under its terms by paying out a sum
of money upon her death.

31. The Policy required that Ms. Anstine execute a truthful application and pay all
applicable premiums end reee, end Ms. Anstine did wher`rhe Policy. required erher.

32. the Defendams did her de what the Periey required erthem when they pad eat the
. Policy proceeds to Ms. Anstine’s slayer in violation of the terms of the policy and Arkansas law.

33. In essence, the Estate of Casey L. Anstine may be considered a third-party
beneficiary of the Policy.

34. The Plaintiff respectfully requests that the Court finds that the Defendants breached
the contract for insurance, and orders the Defendar_rts to pay immediately to the Estate of Casey L.
Anstine, the Policy proceeds totaling $407,000.00 plus.

35. The Plaintitf respectfully requests that the Defendants pay the Plaintiff’s costs and
reasonable anomeys fees pursuant to Ark. Code Ann. 16-22-308.

36. Additionall_y, the Plaintiff respectfully requests that the Defcndants be ordered to
pay a penalty of twelve percent (12%) of the total Policy proceeds for failure to pay timely the
proceeds to the appropriate party pursuant to Ark. Code Ann. 23-79-208. _

37. Had the defendants paid the sum to the Estate in a timely manner, the Estate could

' have invested the money in an interest-bearing account or other mutual ii.md for the benefit of the

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deceased‘s minor daughters Dcfcndants’ mishandling of this claim resulted in the Plaintilf's loss
ofthe time-value of money and the Estate should be compensated for same. 'I`hercfore, the Plaintiff
requests consequential damages at a reasonable interest-bearing rate from the-‘date that the
proceeds were wrongfully distributed to Mr. Linn, '
IV. BAD FAITH _

37`. The Plaintiff restates all allegations contained in Paragraphs 1-36 by this reference.'

38. The Plaintiff sustained damages in that it did not receive the proceeds of the Policy
in a timely manner_and therefore lost both the principal sum of $407,000.00 plus consequential
damages owing to the time-value of money invested.

39. The Defendants acted i'n bad faith in distributing the Policy proceeds to the
deceased's slayer in violation ofthe policy and Arl<ansas law when the facts were such to justify
further investigation into the claim.

40 The Defendants’ conduct proximately caused damage to the PlaintiH` as described
above.

- 41. The melan respeetrony requests that the court order the Defeodeote to pay the
sum of $407,000.00 plus consequential damages, plus a 12% statutory penalty, plus costs and
reasonable attomey's fees.

42. Given the egregious mishandling of this claim, the Plaintiff prays that the Court
assess punitive damages against the Defendants for their bad faith conduct

WHEREFORE, the Pla.inti&` prays that the Court finds in his favor on his Complaint,
exercises its powers under the declaratory judgment statute and finds and declares that Mr. Linn
was, in fact, the legal “slayer" of Ms. Anstine, and that all insurance proceeds should have been

' paid to her Estate and not to her slayer, orders specific performance of the Policy tcrms, in light of

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the relevant slayer statute, and directs the Defendants to pay immediately to the Estate of Casey L.
Anstine the Policy proceeds of $407,000.00, awards consequential damages at a reasonable
. interest-bearing rate from the date that the proceeds were wrongfully distributed to Mr. Linn, order
the Defmdants to pay the sum of $407,000.00.plus consequential damages, plus a' 12% stanitory_
penalty,' plus costs and reasonable attomey's fees, awards punitive damages, costs and reasonable
attomeys' fees to the Plaintiff, or alternatively enter j)udgment against Defendant for same, and

for all other just and proper relief to which he may be mtitled.

 

Sexton & Sanders Law Finn

17 No. 6th Street

Fort Smith, AR 72901

Phone: _ 479-782-3434

Fax: 479-782-0092
owell com

Artorneyfor Plaintrf

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t _PROBATE DIVISION

 

 

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CASEY L. ANST]NE, Deeeased _

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On this day comes for hearing the_petition of (petitloner) for appointment of a Special
Administrator of the estate of (deceased), deceascd; and upon consideration of such Petition and
the facts and evidence in support thereof, the Court linds:

1. 'I`hat a previous Order appointing a Special Administrator of the Estate of Casey
L. Anstine. pertaining to a personal injmy/wrongful death action has been concluded and
dismissed (In the Marrer of the Esrate of Casey L. Anstine, Washington Cotmty Circuit Court
Case No. 72-PR-09-325-5), the current petition is not opposed by any known person_, and the
same may be heard and decided forthwith l

2. ma casey 1. Anssno, who resided in springdale washington cooory, Arkaraar
died on or about June 4, 2006.

3. ma aro Poriaooor, noug`las A. colanon, Jr., sugar am cho armco or carey L.
Anstine may have a cause of action against Prudential Life Insurance Company for breach of
contract and bad faith, inter alia, for the improper payments of life insurance proceeds to a slayer
in_violation ofArlr. Code Ann. § 28-48-101 and desires to bring a civil action on behalf of the
Estatc alleging same. 1

4. That Douglas A. Colcrnan, Jr. is a proper person and fully qualified by law to

_ serve as Special Adnrinisnator of the Estate of Casey L. Anstine, deeeased, for the specific

 

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purpose of pursuing a cause of action against Prudential -for breach of contract and bad faith;
inter alic, and that'he should he appointed to serve without bond subject to the submission pf a
full and final acco\mting at the conciusion of that matter.

IT IS, THEREFORE, CONSIDERED, ORDERED, AND ADIUDGED that nominee,
Douglas A. Coleman, Jr., be, and hereby is, appointed Special Adr_ninistrator of the Estate of
casey L. Amiioo, so serve without hood for so imeoeoiaed period or time so am he my do ou
things related to pursuing a cause of action against Prudential for breach of contract and bad
faith, inter alia, that he be allowed to serve without bond, and that the Letters of Special
Aiimioi`seosoo be issued to me speeiol Admioisoocor, noong A. colemoo, Jr., upon the suing
of his acceptance of Appointment as Special Adrninistrator of the Esta`te of Casey L. Anstine.

4 Upon settlement or other conclusion of this matter, the Special Administrator shall report to this

Court

I'l` IS SO ORDERED 'I'HIS day of 9 2017.

 

PROBATE JUDGE

01 -':

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Arkansas Judlciary

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Judge Gary Cottrell

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IN m Cl`.RCUlT COU'RT OF CRAWFORD COUNTY, A.RKANSAS
PROBATE DIV'ISION `

mrHEMAmRoFTHEESTATEoF coeeNo=` i'lpil" \'1-"13
CASEYLANSTINE,Deeeased ' '

ET RS SPECIAL AthlNIS TION
BE IT KNOWN:
’l`hat Douglas A. CoIeman, Jr., having _becn duly appointed Special Adminjstrator of the
Estate of Casey L. Anstine, deceased, who died on or about lime 4, 2006, and having qualified as such
Special Administrator is authorized to act as such Special Administiator for and in behalf~of the estate

for the purpose doing all things related tc pursuing a cause of action against Prudential for breaeh'of »
contract and bad faith, inter alia.

Issuan this l QU` day of 2013.
/{§ES; driver

Crawford County` tClerk
300 Main Street

Van Buren, AR 72956

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_. DEFENDAN’I"S A'I'DDRNEY: WH 'I`a'ylor .

PRCSEC_UI'ING A'I'IORNEY OR DEPUTY: Brandon Carter
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BRMITON WAYNE LINN * CR2006-1200-1 ‘ “‘”' PA_GE 3

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Case 2:17-cv-02205-PKH Document 3 Filed 11/02/17 Page 19 of 24 Page|D #: 63
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m THE cmcUIT coURT OF wAsm:NGToN coUN’rY, ARKANSAS
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. z 3 __
_DoUGLAs ALLEN coLEMAN, Ihdividuany end es gl§n\'gfr ;."g' -
Specia| Adm.inistrator for the Estate of '-"‘°§§ 53 c
cAsEY L. ANs'rmE, deeeeeed. E,E=-'> ~ 21"_
_ . - l >-'43 £" m.l‘._~`
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n - .. cAsF. No. cv-2009.1115-s §E§ -`=" §
§° +7 15
BRENTON wAYNE Lr_NN DEFYNDQIT §
JUDG

Now an the 7nl day of April, 2011, this action comes on for beach tdal. The Plaintifr"
appears 'm person, by and though his atiomay, A. Powell Sandezs, and the Defendant appears in
person. pro. sc. Wxtnesses were sworn and examined Afte: hearing the cvidenco, stipulations, and
arguments of colmsel and the Dofendant, the Court makes the following findings of fact and award '
of damages: l

. n 'Ibe Defendamhasscipuwdmnegligently cansingthcdeath ofCaseyI..Ar1stine. Based
upon the evidence provided by the Plaintii the Court timber finds that the Dofendnnt wrongfully,
willfully, uninwf\dly, and felonioqu sawed-dnc death of Casey L. Anstine while Defendant was
driving wvue invexiwed, end therefore pmive amgen me preper. ' The com seas ever
Plainti§’s Complainr states 11 cause of action against the Defendant and thin this matter is ‘
appropriate for entry of judgment as 110 damages. 'Iho Court awards $2,000,000.00 'm damages to
be apportioned as follows:

$SO0,000.00 to the Estare of Casey L. Anstine for the loss ofhez life;

ssoc:'ooo.oo tamm Anstine 01 the weaver efcesey 0 mane;

$soo,ooo.oo ce Br'ru=}q Mecemen es me denth efcaeey 1. Anstine

$50,000.00 w Plaintiff, Dougias Allen Coleman us the half brother of Casey L

Anstine;

 

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--. _ _~-. »- __ '_¢__ "l¢¢ -\w-' .L\.~u |\WU&

sso,ooo.oo op chelsea Wc:_m¢u as the sisch °f.casey L. Anstin¢;

sso,ooo.oo w wey M¢com=n as the sister ofcmy L. Anstim; §
850,000.00 w Patricia Belt as the ha.|'fsistez of Casey L. An'stine; and ' t
S50,000.00 m Dougla-s Allen Coleman, Sr. as the stepfather of Casey L. Anstine,
'standing in loco parentis to Casey L. Anstine;

The cch also,».wmds szso,ooo.o_o 111 pmm dqmag¢s.

I'I` IS, THER.EFORE. CONS]DBRED, ORDER.ED AND AD.TUDGED thét the Plaj.utiff,
muglas Aum comm mividumy gm as special me:mm of she asme of éas¢y L.
Anm_=, am should be, and is, gram a jhdgmem against me Defendam, .Brenmn wayne
Linn, in- the amount of $2,000,000.00, to be distributed as set forth e;bove. bb"gcther with post`
judgmenl incenst, ar the rate often percent (10%) psr annum until satisfied in full, all for which
execut`op may issue as provided by law. l

Q],

TH S'l`OREY BRYAN

 

IRCUIT JUDGE

This lilngth Pzepa:ed By:
A. Powell Szndm. ABA #9701$
Sean &. Sanders Law Firm, P.A.
-Axxomeys at Law

17 wm s*' sum

P. O. an 1526

Fart Smldz, AR 72902'

(479) 732-3434

Fn= (419) 732-0092

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Case 2:17-cv-02205-PKH Document 3 Filed 11/02/17 Page 21 of 24 Page|D #: 65

SE‘.XI‘oN 8c SANDERS
LAw FlRM, P.A.

ATI'CRNEYS AT LAW

17 N£>rch exh street-Post office cox 1526
Fort Smith, Arkansas 72902-1526
Telephone (479) 782-3434

Fax' (479) 782-0092
k Powel Sanaers Sam Sedon. .lr. (1824-2000)
Zlad Masrl

Ianuary 4, 2013

VA Prudential Insurance
AT’I'N: Claims Department
VIA FASCIM[LE 1-877-832-4943

Re: Your Insured: Casey L. Anstine, Deccased
My Client: The Estate of Casey L. Anstine, Deceased
DOL: June 4, 2006
Cla.im No.: 10710643

peat Claims Department'.

My name is A Powell Sanders, and I’m the owner of Sexton & Sanders Law Firm, P.A.,
in Fort_Sm.ith, Arkansas. I represent The Estate of Casey L. Anstine, Deceased. It is my
understanding that Casey L Anstine purchased a life insurance policy through the
VA/Prudenn'al naming herself as the insm and naming Brmton Wayne Linn as the

bcneiiciary. It is my \mderstanding that approximately $407,000 was paid to Bren'con
Wayne Linn in 2006 under this policy.

Upon the claims handlcr‘s examination of the Arkansas Motor Vehicle Collision Fatality .
Report regarding Casey L. Anstine, which was completed on or about June 14, 2006, it is' '
clear that Mr. Linn was intoxicated, smelled of alcohol, and was driving recklessly at the
time of this collision. It is also clear that Mr. Linn lied to the investigating omcers about
being the one who was driving the vehicle Disturbingly so, Mr. Linn blamed this

collision on his wife, Casey L. Anstine, who he said was driving This fatality report

shows that a blood sample was taken ii'om Mr. Linn at the hospital. The blood taken

from Mr. Linn over three hours later revealed a blood alcohol level of 0.06 %, indicating
that he was above the legal limit at the time of this wreck. 'I`he¢e results and the entire

story regarding this collision were published in the local newspaper.

On July 6, 2007, Brenton Wayne Linn was found guilty of Negligent Homicide- Class C
Felony_. The summary of the facts in the judgment state that Mr. Linn drove while
intoxicated and negligently caused the death of Casey and her unbom child. Mr. Linn

 

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was sentenced to three years in prison and' rs instructed to enroll himselfin a long~term
alcohol treatment program

- Enclosed please.t`rnd the following Judgment entered on October 24, 2011, in the Circuit
Court of Washington County, Arkansas, against Brenton Wayne Linn for “wrongfully,
willfully, rmlawfully, and feloniously” causing the death of Casey L. Anstine, while
intoxicated This Judgment awarded the Estate of Casey L. Anstine, Deceased,

$2,000,000 in damages, which included $250,000 in punitive damages as a result oer.
Linn‘s intoxication

Arkansas law has long held that the “willful, unlawful, and felonious killing of the
assured by the person named as beneficiary in a life policy forfeits all right of such
person therein." §_ge Me litan L' e . .v c 98 Ark. 132 135 S.W. 8 6
Ark. 121 l.,.where the Arkansas Supreme Court stains:

It is unnecessary that there should be an express exception in the contract o'f
insurance forbidding a recovery in favor of such person in such event. On.
considerations of public policy the death of the insured intentionally caused by the
benchciary of the policy is an excepted risk so far as the person thus causing the
death is concerned As is said in the case of gay Ygrk Life lnsurance Cgmpgny
v. n 7 .S.516 .CtS Ed 97:“Itwouldbea
reproach to the jurisprudence of the county, if he could recover insurance money
payable on the death of a party whose life he had feloniously taken As well
might he recover insurance money upon a building that he had willfully iired.” 4
Cooley’s Briefs on Law ofInsurance, p. 3153; New fork Life ln§. §`&. v. Qam's,
§§ Va. fZ3fZ, 123 §. §. 4fZ5, 44 L. R, A. §Q§‘

_ nrc miraner supreme court in ram urrrr nrc ns co harmed are san eorrrr's
ruling that the estate of the insured was entitled to recover as the proper benchciary of the
life insurance policy under these circumstances '

- Under similar circumstances the Arkansas Supreme Court has repeatedly made this
- ruljng. ln _C_lggper v. Krisehl 172 Ark. 9§2l 1 8 S.W2d QQB,, the Arkansas Suprecne Court
held that when the beneficiary in a life insurance policy mrlawfully kills the insured, the
amount of the insurance becomes an asset of the insured’s estate, to be recovered by the
administrator for the payment of debts and distribution to her heirs. See also, _Hmy.,
Kni ts& au o T r15 k.16 2 S. .l wheretheArkansasSupreme
Court held “that the bcncfrciary, having willfully killed the insured, could not recover on

the policy, but that a recovery might be had for the benefit of the insured’s estate." See
, h & acid-t ’ v Tille l 6
luter- _ ' I.us. Co. v B 1 Ark. 4 16 W . 84

orn v. Cole ' 's r 20 3 1 156 .W 2 1941 theArkansas
Suprcme Court notes that “{t]his cotn't has repeatedly held that where the beneficiary m a
policy cf life` msurance wrongfully kills the insured, public policy prohibits recovery by
the benehciary. " The Com't goes on to state “[t]he same principal of public policy which

Case 2:17-cv-O2205-PKH Document 3 Filed 11/02/17 Page 23 of 24 Page|D #: 67 '

precludes him from claiming directly under the insin'ance contract equally precludes him
from claiming under the statute of decent andl distribution." The Arkansas Supreme'
Court holds that “the heirs at law of the deceased are entitled to this moncy.”

'nus tirruiy established ruic war rucrc rcccr`uiy discussed by arc murrer court cf

AppealsinB rewerv. Ar D t. of ' 71 Ar . 32 S.W.3d
22, A;k. App,, 2090, where the Court notes:

In the seminal case, Mggpo hgr_i Life Ins. Co. v, Shangn 98 Ark.132, 13§, 135
S. w. 836, §3_2 (]211), our supreme court stated, “The willful unlawtiil, and
felonious killing of the assured by the person named as beneficiary' in a life
insinance policy forfeits all rights of such person therein.”

The Arkansas Court oprpeals in §rewer goes onto state, Wm respect tn the [life]
insurance cases the trial com't must determine whether the beneficiary wrongfully cr
unlawfully killed the deceased-a finding that is akin to a civil wrongful death action."

Both the Cn'minal and Civil Divisions in the Washingtcn County Circuit Court found that -
Mr. Linn's actions were “willful, unlawful, and felonious” in causing the death of Casey

- L. Anstine. As such, it is clear that Mr. Linn would not be allowed tc collect as _a
beneficiary of Casey's life insurance policy under Arkansas law.

A simple examination of the fatath report would have given the claims handler
sutiicient knowledge that Mr. Linn willtiilly, unlawfully, and feloniously caused the
death of Casey Anstine, and this would clearly negate him as a bene§ciary imder this
policy. As such, VA/l’rudential should not have paid Mr. Linn any monies, for this

would have allowed him to profit ii'om the death he willfully, imlawtiilly, and feloniously
causod.

It is clear that the Estate ofCasey L. Anstine, Deceased, is the rightful beneiiciary to this
`life insurance policy, and that the proceeds of such policy should be paid to this estate
Therefore, we demand that Prudenu'al pay $407,000.00, plus interestl to the rightful
bcneficiary, the Estate of Casey L. Anstine, Deceased.

Otherwise, we intend to sue for the policy proceeds plus interest attorney's fees and

' penalties, and for punitive damages, as Prudential would have acted in bad faith in failing ‘
to remedy this situation, when it was blatantly clear that upon a simple investigation of
the circumstances surrounding Casey L Anstine's death, and upon examination of this
letter, that Mr. Linn should have not received a dime, and that the Bsta.te of Casey L.
Anstine, Dcceased, is the rightful beneficiary

Also, please provide a copy of the Application for insuranee, the Policy issued, and the
Declaration of.BeneEciary.

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.. -'_~u, .-.- ~u . -r ~

Please contact me to discuss Prudential’s position once they have had an opportunity to-
. review this infonnation and demand: ~

We look forward to hearing nom you soon
Sincerely,

A. Powell Sanders -
Attomey at Law

